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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,
                                                            ORDER
                         Plaintiff(s),
                                                             18-MJ-4165
               v.

ROBERT SCOTT GADDY,

                         Defendant(s).




               At the initial   appearance held on November 1,2018, defendant requested court-

appointed counsel. The defendant was directed to submit additional financial information for the

Court's consideration.

               Uponreviewofdefendant's supplemental financial affidavit,I determine Mr. Gaddy

qualifies financially for appointed counsel.

               Accordingly, Jeffrey L. Ciccone, Assistant Federal Public Defender, is appointed to

represent Mr. Gaddy.

IT IS SO ORDERED.
                                                      (}lro.,'ot VrPa+ryr*
                                                              MARIAN W. PAYSON
                                                            United States Magistrate Judge

Dated: Rochester, New York
       November     $     ,2018
